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 9

10                               UNITED STATES BANKRUPTCY COURT

11                                         DISTRICT OF NEVADA

12   In re:                                              Case No.: BK-19-15172-ABL
                                                         Chapter 11
13   NATIONAL MERCHANDISING SERVICES,
     LLC                                                 Jointly administered with:
14
               Affects this Debtor.                      Edward Steven Burdekin,
15                                                          Case No. BK-19-15175-ABL; and
                                                         National Store Retail Services, LLC,
16             Affects all Debtors.
                                                              Case No. BK-19-15174-ABL
17
               Affects Edward Steven Burdekin.
18                                                       Date: July 31, 2020
                                                         Time: 9:30 a.m.
19                                                       Place: U.S. Bankruptcy Court
               Affects National Store Retail Services,          Courtroom 1
20             LLC.                                             300 Las Vegas Boulevard South
21                                                              Las Vegas, Nevada

22                      DEBTORS’ AMENDED JOINT PLAN OF REORGANIZATION

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 1          National Merchandising Services, LLC, a Nevada limited liability company (“NMS”),
     National Store Retail Services, LLC, a Georgia limited liability company (“NSRS”), and Edward
 2   Steven Burdekin (“Burdekin,” and collectively with NMS and NSRS, the “Debtors”), Debtors and
 3   Debtors-in-possession, propose this Debtors’ Amended Joint Plan of Reorganization (as may be
     amended, supplemented, or modified, including all schedules hereto, the “Plan”) for the resolution
 4   of Debtors’ outstanding Claims and Equity Securities (as these terms are defined herein).

 5           Subject to the restrictions on modifications set forth in Section 1127 of the Bankruptcy
     Code and Bankruptcy Rule 3019, and those restrictions on modifications set forth in Article 11 to
 6   this Plan, Debtors expressly reserve the right to alter, amend, strike, withdraw, or modify this Plan
     one or more times before its substantial consummation.
 7
     1.        DEFINITIONS, RULES OF INTERPRETATION, AND COMPUTATION OF
 8             TIME
 9
             1.1.   Definitions. For purposes of this Plan, except as expressly provided or unless the
10   context otherwise requires, all capitalized terms not otherwise defined shall have the meanings
     ascribed to them in this Article 1. Any term used in this Plan that is not defined herein but is
11   defined in the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed to that
     term in the Bankruptcy Code or the Bankruptcy Rules, in that order of priority. Whenever the
12   context requires, such terms shall include the plural as well as the singular, the masculine gender
     shall include the feminine, and the feminine gender shall include the masculine. Subject to the
13
     Foregoing, as used in this Plan, the following terms shall have the following meanings.
14
             Administrative Claim. A Claim for any cost or expense of administration of the Chapter
15   11 Case allowed under Sections 503(b) or 507(b) of the Bankruptcy Code and entitled to priority
     under Section 507(a)(1) of the Bankruptcy Code, including, but not limited to: (i) fees payable
16   pursuant to 28 U.S.C. § 1930; (ii) the actual and necessary costs and expenses incurred after the
     Petition Date of preserving the Estates, including wages, salaries, or commissions for services
17
     rendered after the commencement of the Chapter 11 Case; (iii) all Governmental Unit Claims
18   arising between the Petition Date and the Effective Date, including those Governmental Unit
     Claims for which returns are not yet due; and (iv) all Professional Fees approved by the
19   Bankruptcy Court pursuant to interim and final allowances. To the extent that a Claim is allowed
     pursuant to Sections 365(d)(3) and (d)(5) of the Bankruptcy Code, such Claim shall also be deemed
20   an “Administrative Claim” under this paragraph.
21            Administrative Claim Bar Date. The end of the first Business Day occurring on or after
22   the thirtieth (30th) calendar day after the Effective Date.

23             Affiliate. This term has the meaning set forth in Section 101(2) of the Bankruptcy Code.

24          Allowed Administrative Claim. An Administrative Claim as to which no objection has
     been filed or, if an objection has been filed, has been resolved by the allowance of such
25   Administrative Claim by a Final Order of the Bankruptcy Court; or which requires payment in the
     ordinary course and as to which there is no Final Order of the Bankruptcy Court in effect which
26   prohibits any such payment.
27
            Allowed Claim. A Claim or any portion thereof that is not a Disputed Claim: (i) that is
28   allowed pursuant: (w) to this Plan or Final Order of the Bankruptcy Court, (x) to any stipulation


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 1   executed prior to the Confirmation Date and approved by the Bankruptcy Court, (y) to any
     stipulation with Debtors or Reorganized Debtors, as applicable, executed on or after the
 2   Confirmation Date and approved by the Bankruptcy Court, or (z) to any contract, instrument, or
 3   other agreement entered into or assumed in connection herewith; (ii) proof of which, requests for
     payment of which, or application for allowance of which, was filed or deemed to be filed on or
 4   before the Bar Date for filing proofs of Claim or requests for payment of Claims of such type
     against Debtors; or (iii) if no proof of Claim is filed, which has been or hereafter is listed by
 5   Debtors in the Schedules as liquidated in amount and not disputed or contingent; and in the case
     of (ii) or (iii), no objection to the allowance thereof has been interposed within the applicable
 6   period of limitation fixed by this Plan, the Bankruptcy Code, the Bankruptcy Rules, or the
 7   Bankruptcy Court or the Bankruptcy Court has entered a Final Order Allowing all or a portion of
     such Claim.
 8
            Assets. All of the assets, property, interests, and effects, real and personal, tangible and
 9   intangible, wherever situated, including Causes of Action, of Debtors, as they exist on the Effective
     Date.
10
             Avoidance Actions. All avoidance, recovery, subordination, and other similar actions
11   preserved for the Estates under the Bankruptcy Code, including but not limited to those set forth
12   in Sections 510, 541, 542, 543, 544, 545, 547, 548, 549, 550, 551, 553(b), and 724(a) of the
     Bankruptcy Code, regardless of whether or not such action has been commenced prior to the
13   Effective Date.

14          Bankruptcy Code. The Bankruptcy Reform Act of 1978, Title 11, United States Code, as
     applicable to the Chapter 11 Case, as now in effect or hereafter amended, 11 U.S.C. §§ 101, et seq.
15
             Bankruptcy Court. The United States Bankruptcy Court for the District of Nevada having
16
     jurisdiction over the Chapter 11 Cases and, to the extent of the withdrawal of any reference under
17   Section 157 of Title 28 of the United States Code and/or the General Order of the United States
     District Court for the District of Nevada, pursuant to Section 151 of Title 28 of the United States
18   Code and /or United States District Court for the District of Nevada

19           Bankruptcy Rules. Collectively, the Federal Rules of Bankruptcy Procedure, as
     applicable to the Chapter 11 Cases, promulgated under 28 U.S.C. § 2075 and the general, local,
20   and chamber rules of the Bankruptcy Court as applicable to the Chapter 11 Cases, as now in effect
21   or hereinafter amended.

22          Bar Date. The date or dates established by the Bankruptcy Court, the Bankruptcy Code,
     and/or the Bankruptcy Rules for the filing of proofs of Claim for all Creditors, exclusive of,
23   Administrative Claims.
24          Burdekin. Edward Steven Burdekin, the individual debtor and Responsible Person
     designated by the NMS and NSRS pursuant to Red. R. Bankr. P. 9001(5).
25
           Business Day. Any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
26
     Bankruptcy Rule 9006(a)).
27

28


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 1           Cash. The legal tender of the United States of America or the equivalent thereof, including
     bank deposits, checks, negotiable instruments, wire transfers of immediately available funds, or
 2   other cash equivalents.
 3
             Causes of Action. Except as otherwise expressly provided in this Plan, all actions, causes
 4   of action, claims, liabilities, Avoidance Actions, obligations, rights, suits, debts, damages,
     judgments, remedies, demands, setoffs, defenses, recoupments, crossclaims, counterclaims, third-
 5   party claims, indemnity claims, contribution claims and any other claims disputed or undisputed,
     suspected or unsuspected, foreseen or unforeseen, known or unknown, direct or indirect, choate or
 6   inchoate, existing or hereafter arising, in law, equity or otherwise, based in whole or in part upon
     any act or omission or other event occurring prior to the Petition Date or during the course of the
 7
     Chapter 11 Cases that Debtors or the Estates may have against any Person, including but not
 8   limited to, those listed on Schedule 1 hereto. Failure to list Causes of Action on Schedule 1 shall
     not constitute a waiver or release by Debtors or Reorganized Debtors of such Causes of Action.
 9
            Chapter 11 Cases. The cases under Chapter 11 of the Bankruptcy Code of each of the
10   Debtors, having case numbers BK-18-14683-abl, BK-18-14684-abl, and BK-18-14685-abl,
     including all adversary proceedings pending in connection therewith.
11
             Claim. Any right to payment from any of the Debtors, whether or not such right is reduced
12
     to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
13   undisputed, legal, equitable, secured, or unsecured arising at any time before the Effective Date or
     relating to any event that occurred before the Effective Date, or any right to an equitable remedy
14   for breach of performance if such breach gives rise to a right of payment from any of the Debtors,
     whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
15   matured, unmatured, disputed, undisputed, secured, or unsecured.
16
               Class. A category of Holders of Claims or Equity Securities as classified in this Plan.
17
            Confirmation. The entry by the Bankruptcy Court of the Confirmation Order on the
18   dockets of the Chapter 11 Cases.

19          Confirmation Date. The date upon which the Bankruptcy Court enters the Confirmation
     Order on the dockets of the Chapter 11 Cases.
20
             Confirmation Hearing. The duly-noticed initial hearing held by the Bankruptcy Court to
21   confirm this Plan pursuant to Section 1128 of the Bankruptcy Code, and any subsequent hearing
22   held by the Bankruptcy Court from time to time to which the initial hearing is adjourned without
     further notice other than the announcement of the adjourned dates at the Confirmation Hearing or
23   by a subsequent order of the Bankruptcy Court.

24           Confirmation Order. The order or orders entered by the Bankruptcy Court confirming
     this Plan pursuant to Section 1129 of the Bankruptcy Code.
25
               Creditor. Any Holder of a Claim, whether such Claim is an Allowed Claim.
26
             Cure. The distribution on the Effective Date or as soon thereafter as practicable of Cash,
27
     or such other property as may be agreed upon by the parties or ordered by the Bankruptcy Court,
28   of (1) with respect to the assumption of an Executory Contract or Unexpired Lease pursuant to


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 1   Section 365(b) of the Bankruptcy Code, the amount required to cure any monetary default under
     such Executory Contract or Unexpired Lease under Section 365(b)(1)(A); and (2) with respect to
 2   any debt instrument, (i) all monetary obligations required to be paid to bring current the debt
 3   instrument and thereby reinstate the debt and return to the pre-default conditions to the extent such
     obligations are enforceable under the Bankruptcy Code or applicable non-bankruptcy law; and (ii)
 4   for any Claim arising from a Debtors’ failure to perform any non-monetary obligation as set forth
     in Sections 1124(2)(C) and 1124(2)(D) of the Bankruptcy Code asserted by the Holder of such
 5   debt instrument, payment of the dollar amount which compensates the Holder of such a Claim for
     any actual pecuniary loss incurred by such Holder as a result of any such failure and the dollar
 6   amount of the Claim that is established by the Holder’s sworn declaration and accompanying
 7   admissible evidence filed with the Bankruptcy Court and served upon Debtors’ counsel on or
     before such date ordered by the Bankruptcy Court for the filing of objections to the Plan, subject
 8   to any of Debtors’ defenses.

 9          Debtors. National Merchandising Services, LLC, a Nevada limited liability company,
     National Store Retail Services, LLC, and Edward Steven Burdekin, the Debtors and Debtors-in-
10   possession in the Chapter 11 Cases pursuant to Section 1108 of the Bankruptcy Code.
11          Disbursing Agent. The Person acting in the capacity as the Disbursing Agent as provided
12   under this Plan.

13            Disputed Claim or Disputed Equity Security. A Claim or Equity Security or any portion
     thereof that is: (i) subject to timely objection interposed by a Debtor or Reorganized Debtor, the
14   or any party-in-interest entitled to file and prosecute such objection in a Debtor’s Chapter 11 Case,
     if at such time such objection has not been withdrawn or determined by Final Order; (ii) a Claim
15   that is listed by a Debtor as disputed, unliquidated or contingent in the Schedules, with respect to
16   which no proof of claim has been timely filed; or (iii) a Claim which is contingent, unmatured, or
     unliquidated on or immediately before the Confirmation Date; provided, however, that the
17   Bankruptcy Court may estimate a Disputed Claim for purposes of allowance pursuant to Section
     502(c) of the Bankruptcy Code. The term “Disputed,” when used to modify a reference in this
18   Plan to any Claim or Equity Security (or Class of Claims or Equity Securities), shall mean a Claim
     or Equity Security (or any Claim or Equity Security in such Class) that is a Disputed Claim or
19   Disputed Equity Security. In the event there is a dispute as to classification or priority of a Claim
20   or Equity Security, it shall be considered a Disputed Claim or Disputed Equity Security in its
     entirety. Until such time as a contingent, unmatured, or unliquidated Claim becomes fixed and
21   absolute, such Claim shall be treated as a Disputed Claim and not an Allowed Claim for purposes
     related to allocations and distributions under this Plan.
22
            Disputed Claim Reserve. A reserve established by the Reorganized Debtors to hold in
23   one or more accounts Cash or other Assets equal to the aggregate amount thereof that would have
     been distributed in accordance with the terms of this Plan on account of a Disputed Claim is such
24
     claim were an Allowed Claim.
25
            Distribution. Any distribution of Assets by Reorganized Debtors as the Disbursing Agent
26   to Holders of Allowed Claims.

27           Distribution Date. The first Business Day following the date that is thirty (30) days after
     the Effective Date.
28


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 1           Effective Date. The latest to occur of: (i) the first (1st) Business Day that is at least
     fourteen (14) days after the Confirmation Date and on which no stay of the Confirmation Order is
 2   in effect; and (ii) the first (1st) Business Day on which all of the conditions set forth in Article 8 of
 3   this Plan have been satisfied or waived.

 4          Equity Security. This term has the meaning set forth in Section 101(16) of the Bankruptcy
     Code and includes the shares of stock in each of NMS and NSRS and the membership interests in
 5   NMS, and any warrants, options, redemption rights, dividend rights, liquidating preferences, rights
     to purchase any such Equity Security, or any other rights related thereto.
 6
           Estates. The Estates created for each of the Debtors pursuant to Section 541 of the
 7   Bankruptcy Code.
 8
           Executory Contract. A contract to which any of the Debtors is a party that is subject to
 9   assumption or rejection under Section 365 of the Bankruptcy Code.

10           Federal Judgment Rate. The rate of interest as calculated under 28 U.S.C. § 1961(a) as
     of the Petition Date.
11
            Final Order. An order, judgment, or other decree of the Bankruptcy Court, or other court
12   of competent jurisdiction, entered on the docket of such court, that has not been reversed,
     reconsidered, stayed, modified, or amended, that is in full force and effect, and as to which order
13
     or judgment: (i) the time to appeal, seek review or rehearing, or petition for certiorari has expired
14   and no timely-filed appeal or petition for review, rehearing, remand, or certiorari is pending; (ii)
     any appeal taken or petition for certiorari or request for reconsideration or further review or
15   rehearing filed: (a) has been resolved by the highest court to which the order or judgment was
     appealed or from which review, rehearing, or certiorari was sought; or (b) has not yet been resolved
16   by such highest court, but such order has not been stayed pending appeal. Notwithstanding the
17   foregoing, the Confirmation Order shall specifically become a Final Order on the first Business
     Day that is fourteen (14) days after the entry of such Confirmation Order notwithstanding a
18   pending appeal if no stay pending appeal has been granted by the Bankruptcy Court or the court
     in which the appeal is pending.
19
             General Unsecured Claim. A Claim that is not secured by a Lien or other charge against
20   or interest in property in which the Estate has an interest and is not a Section 507(a)(2) or 507(a)(3)
     Claim, an Administrative Claim, or a Priority Unsecured Claim. General Unsecured Claims shall
21
     also include all Claims arising under Section 502(g) of the Bankruptcy Code.
22
           Governmental Unit. The term shall have the meaning set forth in Section 101(27) of the
23   Bankruptcy Code.

24             Holder. An entity holding an Equity Security or Claim.
25             Impaired. This term shall have the meaning set forth in Section 1124 of the Bankruptcy
     Code.
26
               Intercompany Claim. A Claim held by one of the Debtors against another of the Debtors.
27

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 1          Joint Administration Order. The Order Directing Joint Administration of the Debtors’
     Chapter 11 Cases Under Fed. R Bank. P. 1015(b) entered by the Bankruptcy Court on August 26,
 2   2019, providing for the joint administration of the Chapter 11 Cases, with NMS being the lead
 3   case.

 4             Lien. This term shall have the meaning set forth in Section 101(37) of the Bankruptcy
     Code.
 5
             Person. An individual, corporation, limited liability company, partnership, association,
 6   joint stock company, joint venture, estate, trust, unincorporated organization or government,
     governmental unit, or any subdivision thereof or any other entity.
 7
            Petition Dates. August 10, 2019 for NMS and August 11, 2019 for NSRS and Burdekin,
 8
     the date on which voluntary Chapter 11 petitions were filed by each of the Debtors, thereby
 9   commencing the Chapter 11 Cases.

10           Plan. This Joint Plan of Reorganization, either in its present form or as it may be amended,
     supplemented, or modified from time to time, including all exhibits and schedules annexed hereto
11   or referenced herein.
12           Plan Supplement. One or more supplements to this Plan to be filed no later than 10 days
     prior to the commencement of the Confirmation Hearing, which shall include post-Effective Date
13
     operative documents for the Reorganized Debtors.
14
             Priority Tax Claims. Any and all Claims of a Governmental Unit accorded priority in
15   right of payment under Section 507(a)(8) of the Bankruptcy Code.

16          Priority Unsecured Claims. Any and all Claims accorded priority in right of payment
     under Section 507(a) of the Bankruptcy Code except for Priority Tax Claims.
17
            Professional Fees. The Administrative Claims for compensation and reimbursement
18
     submitted pursuant to Sections 327, 328, 330, or 331 of the Bankruptcy Code of Persons: (i)
19   employed pursuant to an order of the Bankruptcy Court under Sections 327, 328 or 1102 of the
     Bankruptcy Code; and (ii) for whom compensation and reimbursement has been allowed by the
20   Bankruptcy Court pursuant to Section 503(b) of the Bankruptcy Code or by other Final Order.

21          Proof of Claim. A proof of Claim filed by a Creditor in accordance with Section 501 of
     the Bankruptcy Code and Bankruptcy Rule 3001.
22
             Pro Rata. The ratio of an Allowed Claim in a particular class to the aggregate amount of
23
     all Allowed Claims in such Class.
24
             Reorganized Debtors. Collectively, Debtors as reorganized pursuant to the Plan after the
25   Effective Date.

26             Reorganized Burdekin. Burdekin as reorganized pursuant to the Plan after the Effective
     Date.
27
               Reorganized NMS. NMS as reorganized pursuant to the Plan after the Effective Date.
28


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 1             Reorganized NSRS. NSRS as reorganized pursuant to the Plan after the Effective Date.
 2         Schedules. The schedules of assets and liabilities and any amendments thereto filed by
     each of the Debtors with the Bankruptcy Court in accordance with Section 521(1) of the
 3
     Bankruptcy Code.
 4
             Secured Claim. A Claim that is secured by a Lien against property of the Estates to the
 5   extent of the value of such Creditor’s interest in the Estate’s interest in such property, which Lien
     is valid, perfected, and enforceable pursuant to applicable law or by reason of a Final Order of the
 6   Bankruptcy Court, or to the extent of the amount of such Claim subject to setoff in accordance
     with Section 553 of the Bankruptcy Code, in either case as determined pursuant to Section 506(a)
 7   of the Bankruptcy Code.
 8
             Unexpired Lease. A lease of real property or personal property to which a Debtor is a
 9   party that is subject to assumption or rejection under Section 365 of the Bankruptcy Code.

10             Unimpaired. This term has the meaning set forth in Section 1124 of the Bankruptcy Code.

11           1.2.   Computation of Time. In computing any period of time prescribed or allowed by
     this Plan, unless otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall
12   apply.
13            1.3.    Rules of Interpretation. For purposes of this Plan only: (i) any reference in this
14   Plan to a contract, instrument, release, or other agreement or documents being in particular form
     or on particular terms and conditions means that such document shall be substantially in such form
15   or substantially on such terms and conditions; (ii) any reference in this Plan to an existing
     document or exhibit filed or to be filed means such document or exhibit as it may have been or
16   may be amended, modified, or supplemented; (iii) unless otherwise specified, all references in this
     Plan to Sections, Articles, Schedules, and Exhibits are references to Sections, Articles, Schedules,
17
     and Exhibits of or to this Plan; (iv) the words “herein,” “hereof,” “hereto,” and “hereunder” refer
18   to this Plan in its entirety rather than to a particular portion of this Plan; (v) captions and headings
     to Articles and Sections are inserted for convenience of reference only and are not intended to be
19   a part of or to affect the interpretation of this Plan; and (vi) the rules of construction and definitions
     set forth in Sections 101 and 102 of the Bankruptcy Code and in the Bankruptcy Rules shall apply
20   unless otherwise expressly provided.
21          1.4.    Exhibits and Plan Schedules. All exhibits and schedules attached to this Plan are
22   incorporated into and are a part of this Plan as if set forth in full herein.

23   2.        TREATMENT OF UNCLASSIFIED CLAIMS

24           2.1.   General. Pursuant to Section 1123(a)(1) of the Bankruptcy Code, the Claims
     against Debtors set forth in this Article 2 are not classified within any Class. The Holders of such
25   Claims are not entitled to vote on this Plan. The treatment of the Claims set forth below is
     consistent with the requirements of Section 1129(a)(9)(A) and (C) of the Bankruptcy Code.
26
            2.2.    Treatment of Administrative Claims. Each Allowed Administrative Claim shall
27   be paid by Burdekin as Disbursing Agent on behalf of Reorganized Debtors upon the latest of: (i)
28   the Effective Date or as soon thereafter as is practicable; (ii) such date as may be fixed by the


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 1   Bankruptcy Court, or as soon thereafter as practicable, (iii) the fourteenth (14) Business Day after
     such Claim is Allowed, or as soon thereafter as practicable; and (iv) such date as the Holder of
 2   such Claim and Reorganized Debtors shall agree upon.
 3
              2.3.   Treatment of Priority Tax Claims. Each Allowed Priority Tax Claim shall be
 4   paid in full in Cash by Burdekin as Disbursing Agent on behalf of Reorganized Debtors in equal
     monthly installments beginning the latest of: (i) the Effective Date or as soon thereafter as is
 5   practicable; (ii) such date as may be fixed by the Bankruptcy Court, or as soon thereafter as
     practicable, (iii) the fourteenth (14th) Business Day after such Claim is Allowed, or as soon
 6   thereafter as practicable; and (iv) such date as the Holder of such Claim and Reorganized Debtors
     shall agree upon. Until the Allowed Priority Tax Claim is paid in full, the unpaid balance shall
 7
     accrue statutory interest from the Effective Date fixed at the applicable federal or state statutory
 8   rate in effect with respect to such Priority Tax Claim on the Petition Date.

 9           2.4.  Requests for Payment. All requests for payment of Administrative Claims against
     Debtors and all final applications for allowance and disbursement of Professional Fees must be
10   filed by the Administrative Claim Bar Date; any Holder of an Administrative Claim not timely
     filed or the Holders thereof shall be forever barred from asserting such Administrative Claim
11   against Debtors and the Reorganized Debtors. Unless otherwise ordered by the Bankruptcy Court,
12   no professional shall be required to file a fee application for fees or expenses accruing or arising
     from and after the Effective Date and Reorganized Debtors may pay all professionals in the
13   ordinary course for fees and expenses incurred from and after the Effective Date.

14   3.        DESIGNATION OF CLASSES OF CLAIMS AND EQUITY SECURITIES

15           Pursuant to this Plan and in accordance with Section 1123(a)(1) of the Bankruptcy Code,
     all Claims and Equity Securities (except unclassified Claims) are placed in the Classes described
16   below. A Claim or Equity Security is classified in a particular Class only to the extent that the
17   Claim or Equity Security qualifies within the description of that Class and is classified in other
     Classes only to the extent that any remainder of the Claim or Equity Security qualifies within the
18   description of such other Classes. A Claim or Equity Security is also classified in a particular
     Class only to the extent that such Claim or Equity Security is an Allowed Claim or Allowed Equity
19   Security in that Class and has not been paid, released, or otherwise satisfied prior to the Effective
     Date, except as otherwise provided under this Plan.
20
             Debtors have designated all Classes of Claims as Unimpaired. With respect to Claims
21
     within Classes which are Unimpaired under this Plan, nothing shall affect the rights and legal and
22   equitable defenses of Debtors and Reorganized Debtors regarding such Claims including but not
     limited to, all rights in respect of legal and equitable defenses to setoff or recoupment against such
23   Claims.
24             3.1.         Summary of Classification.
25
          Class               Description                          Treatment
26
          Class 1             Secured Claims (NMS)                 Unimpaired.
27
                                                                     No Solicitation required.
28


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 1
        Class 2               Secured Claims (NSRS)                   Unimpaired
 2                                                                      No Solicitation required.

 3      Class 3               Secured Claims (Burdekin)               Unimpaired
                                                                        No Solicitation required.
 4
        Class 4               Priority Unsecured Claims (NMS)         Unimpaired.
 5                                                                      No solicitation required.
 6      Class 5               Priority Unsecured Claims (NSRS)        Unimpaired.
 7                                                                      No solicitation required.

 8      Class 6               Priority Unsecured Claims (Burdekin)    Unimpaired.
                                                                        No solicitation required.
 9
        Class 7               General Unsecured Claims (NMS)          Unimpaired.
10                                                                      No solicitation required.
11      Class 8               General Unsecured Claims (NSRS)         Unimpaired.
12                                                                      No solicitation required.

13      Class 9               General Unsecured Claims (Burdekin)     Unimpaired.
                                                                        No solicitation required.
14
        Class 10              Intercompany Claim (NMS)                Unimpaired.
15                                                                      No solicitation required.
16      Class 11              Intercompany Claim (NSRS)               Unimpaired.
                                                                        No solicitation required.
17

18      Class 12              Intercompany Claim (Burdekin)           Unimpaired.
                                                                        No solicitation required.
19
        Class 13a             Equity Security (NMS)                   Unimpaired.
20                                                                      No solicitation required.
21      Class 13b             Equity Security (NMS)                   Unimpaired.
                                                                        No solicitation required.
22
        Class 14              Equity Security (NSRS)                  Unimpaired.
23
                                                                        No solicitation required.
24

25             3.2.         Specific Description of Classification.
26                                Class 1: Secured Claims (NMS). Class 1 consists of the Secured Claims
               against NMS. Each Holder of a Secured Claim against NMS shall be its own separate
27
               subclass within Class 1, and each subclass shall be deemed to be a separate class for
28             purposes of this Plan.


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 1                                Class 2: Secured Claims (NSRS). Class 2 consists of the Secured
               Claims against NSRS. Each Holder of a Secured Claim against NSRS shall be its own
 2             separate subclass within Class 2, and each subclass shall be deemed to be a separate class
 3             for purposes of this Plan.

 4                                Class 3: Secured Claims (Burdekin). Class 3 consists of the Secured
               Claims against Burdekin. Each Holder of a Secured Claim against Burdekin shall be its
 5             own separate subclass within Class 3, and each subclass shall be deemed to be a separate
               class for purposes of this Plan.
 6
                                  Class 4: Priority Unsecured Claims (NMS). Class 4 consists of the
 7             Holders of Priority Unsecured Claims against NMS.
 8
                                  Class 5: Priority Unsecured Claims (NSRS). Class 5 consists of the
 9             Holders of Priority Unsecured Claims against NSRS.

10                                Class 6: Priority Unsecured Claims (Burdekin). Class 6 consists of the
               Holders of Priority Unsecured Claims against Burdekin.
11
                                Class 7: General Unsecured Claims (NMS). Class 7 consists of the
12             Holders of General Unsecured Claims against NMS.
13                              Class 8: General Unsecured Claims (NSRS). Class 8 consists of the
14             Holders of General Unsecured Claims against NSRS.

15                              Class 9: General Unsecured Claims (Burdekin). Class 9 consists of the
               Holders of General Unsecured Claims against Burdekin.
16
                                Class 10: Intercompany Claim (NMS). Class 10 consists of the
17             Intercompany Claims against NSRS and Burdekin held by NMS.
18                              Class 11: Intercompany Claim (NSRS). Class 11 consists of the
19             Intercompany Claims against NMS and Burdekin held by NSRS.

20                              Class 12: Intercompany Claim (Burdekin). Class 12 consists of the
               Intercompany Claims against NSRS and NMS held by Burdekin.
21
                                 Class 13: Equity Security (NMS). Class 13 consists of the Holders of
22             an Equity Security in NMS.
23                               Class 14: Equity Security (NSRS). Class 14 consists of the Holders of
               an Equity Security in NSRS.
24
     4.        DESIGNATION OF AND PROVISIONS FOR TREATMENT OF CLASSES OF
25             CLAIMS UNDER THIS PLAN
26
             4.1. Class 1 – Secured Claims (NMS). Each Holder of an Allowed Secured Claim
27   against NMS, if any, in full and final satisfaction of such Claim shall at the option of NMS or
     Reorganized NMS receive either: (i) payment by Burdekin as Disbursing Agent on behalf of
28   Reorganized NMS of its Allowed Claim in full in Cash on the latest of: (a) the Distribution Date,


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 1   or as soon thereafter as is practical; (b) such date as may be fixed by the Bankruptcy Court, or as
     soon thereafter as is practicable; (c) the fourteenth (14) Business Day after such Claim is Allowed,
 2   or as soon thereafter as is practicable; or (d) such date as the Holder of such Claim and NMS or
 3   Reorganized Debtors on behalf of Reorganized NMS, as applicable, have agreed or shall agree,
     plus interest due under applicable bankruptcy or non-bankruptcy law, or (ii) receive on the
 4   Effective Date turnover of any collateral securing the Allowed Secured Claim.

 5       Creditors in Class 1 are unimpaired under this Plan, deemed to have accepted this Plan
     pursuant to Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
 6
             4.2.   Class 2 – Secured Claims (NSRS). Each Holder of an Allowed Secured Claim
 7   against NSRS, if any, in full and final satisfaction of such Claim shall at the option of NSRS or
 8   Reorganized NSRS receive either: (i) payment by Burdekin as Disbursing Agent on behalf of
     Reorganized NSRS of its Allowed Claim in full in Cash on the latest of: (a) the Distribution Date,
 9   or as soon thereafter as is practical; (b) such date as may be fixed by the Bankruptcy Court, or as
     soon thereafter as is practicable; (c) the fourteenth (14) Business Day after such Claim is Allowed,
10   or as soon thereafter as is practicable; or (d) such date as the Holder of such Claim and NSRS or
     Reorganized Debtors on behalf of Reorganized NSRS, as applicable, have agreed or shall agree,
11   plus interest due under applicable bankruptcy or non-bankruptcy law, or (ii) receive on the
12   Effective Date turnover of any collateral securing the Allowed Secured Claim.

13       Creditors in Class 2 are unimpaired under this Plan, deemed to have accepted this Plan
     pursuant to Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
14
             4.3.    Class 3 – Secured Claims (Burdekin). Each Holder of an Allowed Secured Claim
15   against Burdekin, if any, in full and final satisfaction of such Claim shall at the option of Burdekin
     or Reorganized Burdekin receive either: (i) payment by Burdekin as Disbursing Agent on behalf
16
     of Reorganized Burdekin of its Allowed Claim in full in Cash on the latest of: (a) the Distribution
17   Date, or as soon thereafter as is practical; (b) such date as may be fixed by the Bankruptcy Court,
     or as soon thereafter as is practicable; (c) the fourteenth (14) Business Day after such Claim is
18   Allowed, or as soon thereafter as is practicable; or (d) such date as the Holder of such Claim and
     Burdekin or Reorganized Debtors on behalf of Reorganized Burdekin, as applicable, have agreed
19   or shall agree, plus interest due under applicable bankruptcy or non-bankruptcy law, or (ii) receive
     on the Effective Date turnover of any collateral securing the Allowed Secured Claim.
20

21       Creditors in Class 3 are unimpaired under this Plan, deemed to have accepted this Plan
     pursuant to Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
22
             4.4.    Class 4 – Priority Unsecured Claims (NMS). Each Holder of an Allowed Priority
23   Unsecured Claim against NMS, if any, in full and final satisfaction of such Claim, shall be paid its
     Allowed Claim by Burdekin as Disbursing Agent on behalf of Reorganized NMS in full in Cash
24   on the latest of: (i) the Distribution Date, or as soon thereafter as is practical; (ii) such date as may
     be fixed by the Bankruptcy Court, or as soon thereafter as is practicable; (iii) the fourteenth (14)
25
     Business Day after such Claim is Allowed, or as soon thereafter as is practicable; or (iv) such date
26   as the Holder of such Claim and NMS or Reorganized Debtors on behalf of Reorganized NMS, as
     applicable, have agreed or shall agree, together with interest at the Federal Judgment Rate accruing
27   from the Petition Date until the Effective Date.
28


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 1       Creditors in Class 4 are unimpaired under this Plan, deemed to have accepted this Plan
     pursuant to Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
 2
              4.5.  Class 5 – Priority Unsecured Claims (NSRS). Each Holder of an Allowed
 3
     Priority Unsecured Claim against NSRS, if any, in full and final satisfaction of such Claim, shall
 4   be paid its Allowed Claim by Burdekin as Disbursing Agent on behalf of Reorganized NSRS in
     full in Cash on the latest of: (i) the Distribution Date, or as soon thereafter as is practical; (ii) such
 5   date as may be fixed by the Bankruptcy Court, or as soon thereafter as is practicable; (iii) the
     fourteenth (14th) Business Day after such Claim is Allowed, or as soon thereafter as is practicable;
 6   or (iv) such date as the Holder of such Claim and NSRS or Reorganized Debtors on behalf of
     Reorganized NSRS, as applicable, have agreed or shall agree, together with interest at the Federal
 7
     Judgment Rate accruing from the Petition Date until the Effective Date.
 8
         Creditors in Class 5 are unimpaired under this Plan, deemed to have accepted this Plan
 9   pursuant to Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.

10            4.6.   Class 6 – Priority Unsecured Claims (Burdekin). Each Holder of an Allowed
     Priority Unsecured Claim against Burdekin, if any, in full and final satisfaction of such Claim shall
11   be paid its Allowed Claim by Burdekin as Disbursing Agent on behalf of Reorganized Burdekin
     in full in Cash on the latest of: (i) the Distribution Date, or as soon thereafter as is practical; (ii)
12
     such date as may be fixed by the Bankruptcy Court, or as soon thereafter as is practicable; (iii) the
13   fourteenth (14th) Business Day after such Claim is Allowed, or as soon thereafter as is practicable;
     or (iv) such date as the Holder of such Claim and Burdekin or Reorganized Debtors on behalf of
14   Reorganized Burdekin, as applicable, have agreed or shall agree, together with interest at the
     Federal Judgment Rate accruing from the Petition Date until the Effective Date
15
         Creditors in Class 6 are unimpaired under this Plan, deemed to have accepted this Plan
16
     pursuant to Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
17
             4.7.    Class 7 – General Unsecured Claims (NMS). Each Holder of an Allowed
18   Unsecured Claim against NMS, if any, in full and final satisfaction of such Claim, shall be paid its
     Allowed Claim by Burdekin as Disbursing Agent on behalf of Reorganized NMS in full in Cash
19   on the latest of: (i) the Distribution Date, or as soon thereafter as is practical; (ii) such date as may
     be fixed by the Bankruptcy Court, or as soon thereafter as is practicable; (iii) the fourteenth (14)
20   Business Day after such Claim is Allowed, or as soon thereafter as is practicable; or (iv) such date
21   as the Holder of such Claim and NMS or Reorganized Debtors on behalf of Reorganized NMS, as
     applicable, have agreed or shall agree, together with interest at the Federal Judgment Rate accruing
22   from the Petition Date until the Effective Date.

23          Class 7 is unimpaired under this Plan, deemed to have accepted this Plan pursuant to
     Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
24
             4.8.    Class 8 – General Unsecured Claims (NSRS). Each Holder of an Allowed
25   Unsecured Claim against NSRS, if any, in full and final satisfaction of such Claim, shall be paid
26   its Allowed Claim by Burdekin as Disbursing Agent on behalf of Reorganized NSRS in full in
     Cash on the latest of: (i) the Distribution Date, or as soon thereafter as is practical; (ii) such date
27   as may be fixed by the Bankruptcy Court, or as soon thereafter as is practicable; (iii) the fourteenth
     (14th) Business Day after such Claim is Allowed, or as soon thereafter as is practicable; or (iv)
28   such date as the Holder of such Claim and NSRS or Reorganized Debtors on behalf of Reorganized

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 1   NSRS, as applicable, have agreed or shall agree, together with interest at the Federal Judgment
     Rate accruing from the Petition Date until the Effective Date.
 2
            Class 8 unimpaired under this Plan, deemed to have accepted this Plan pursuant to Section
 3
     1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
 4
             4.9.     Class 9 – General Unsecured Claims (Burdekin). Each Holder of an Allowed
 5   Priority Unsecured Claim against Burdekin, if any, in full and final satisfaction of such Claim,
     shall be paid its Allowed Claim by Burdekin as Disbursing Agent on behalf of Reorganized
 6   Burdekin in full in Cash on the latest of: (i) the Distribution Date, or as soon thereafter as is
     practical; (ii) such date as may be fixed by the Bankruptcy Court, or as soon thereafter as is
 7   practicable; (iii) the fourteenth (14th) Business Day after such Claim is Allowed, or as soon
 8   thereafter as is practicable; or (iv) such date as the Holder of such Claim and Burdekin or
     Reorganized Debtors on behalf of Reorganized Burdekin, as applicable, have agreed or shall agree,
 9   together with interest at the Federal Judgment Rate accruing from the Petition Date until the
     Effective Date.
10
            Class 9 is unimpaired under this Plan, deemed to have accepted this Plan pursuant to
11   Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
12            4.10. Class 10 – Intercompany Claims (NMS). Each Holder of an Allowed
13   Intercompany Claim against NMS, if any, in full and final satisfaction of such Claim, shall be paid
     its Allowed Claim by Burdekin as Disbursing Agent on behalf of Reorganized NMS as Disbursing
14   in full in Cash on the latest of: (i) the Distribution Date, or as soon thereafter as is practical; (ii)
     such date as may be fixed by the Bankruptcy Court, or as soon thereafter as is practicable; (iii) the
15   fourteenth (14) Business Day after such Claim is Allowed, or as soon thereafter as is practicable;
     or (iv) such date as the Holder of such Claim and NMS or Reorganized Debtors on behalf of
16
     Reorganized NMS, as applicable, have agreed or shall agree, together with interest at the Federal
17   Judgment Rate accruing from the Petition Date until the Effective Date.

18          Class 10 is unimpaired under this Plan, deemed to have accepted this Plan pursuant to
     Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
19
             4.11. Class 11 – Intercompany Claims (NSRS). Each Holder of an Allowed
20   Intercompany Claim against NSRS, if any, in full and final satisfaction of such Claim, shall be
     paid its Allowed Claim by Burdekin as Disbursing Agent on behalf of Reorganized NSRS in full
21
     in Cash on the latest of: (i) the Distribution Date, or as soon thereafter as is practical; (ii) such date
22   as may be fixed by the Bankruptcy Court, or as soon thereafter as is practicable; (iii) the fourteenth
     (14th) Business Day after such Claim is Allowed, or as soon thereafter as is practicable; or (iv)
23   such date as the Holder of such Claim and NSRS or Reorganized Debtors on behalf of Reorganized
     NSRS, as applicable, have agreed or shall agree, together with interest at the Federal Judgment
24   Rate accruing from the Petition Date until the Effective Date.
25          Class 11 is unimpaired under this Plan, deemed to have accepted this Plan pursuant to
26   Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.

27           4.12. Class 12 – Intercompany Claims (Burdekin). Each Holder of an Allowed
     Intercompany Claim against Burdekin, if any, in full and final satisfaction of such Claim, shall be
28   paid its Allowed Claim by Burdekin as Disbursing Agent on behalf of Reorganized Burdekin in


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 1   full in Cash on the latest of: (i) the Distribution Date, or as soon thereafter as is practical; (ii) such
     date as may be fixed by the Bankruptcy Court, or as soon thereafter as is practicable; (iii) the
 2   fourteenth (14th) Business Day after such Claim is Allowed, or as soon thereafter as is practicable;
 3   or (iv) such date as the Holder of such Claim and Burdekin or Reorganized Debtors on behalf of
     Reorganized Burdekin, as applicable, have agreed or shall agree, together with interest at the
 4   Federal Judgment Rate accruing from the Petition Date until the Effective Date.

 5          Class 12 is unimpaired under this Plan, deemed to have accepted this Plan pursuant to
     Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
 6
             4.13. Class 13 – Equity Security (NMS). The Holders of the Equity Securities of NMS
 7   shall retain their Equity Securities in NMS under the Plan.
 8
            Class 13 is unimpaired under this Plan, deemed to have accepted this Plan pursuant to
 9   Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.

10         4.14. Class 14 – Equity Security (NSRS). The Holders of the Equity Securities of
     NSRS shall retain their Equity Securities in NSRS under the Plan.
11
            Class 14 is unimpaired under this Plan, deemed to have accepted this Plan pursuant to
12   Section 1126(f) of the Bankruptcy Code, and are not entitled to vote on this Plan.
13   5.        MEANS FOR IMPLEMENTATION OF THE PLAN
14           5.1.    Operations Between Confirmation Date and the Effective Date. During the
15   period from the Confirmation Date through and until the Effective Date, the Debtors shall continue
     to manage their property and estates as debtors-in-possession, subject to the oversight of the
16   Bankruptcy Court as provided in the Bankruptcy Code, the Bankruptcy Rules and all orders of the
     Bankruptcy Court that are then in full force and effect. Debtors’ have sufficient cash from post-
17   petition operations to pay all Plan payments due under the Plan
18          5.2.    Plan Implementation Occurring on the Effective Date. On the Effective Date,
19   except as otherwise provided, without any further action by Debtors or Reorganized Debtors, the
     following events shall occur in the following sequence:
20
                                  Upon the occurrence of the Effective Date, Reorganized Debtors as set
21             forth in the Plan shall serve as the Disbursing Agent with respect to all Administrative
               Claims.
22
                                     Subject to the provisions of this Plan and as permitted by Section
23             1123(a)(5)(B) of the Bankruptcy Code, the Assets, including the Causes of Actions and all
24             right, title, and interest therein shall vest in the Reorganized Debtors.

25                                 With regard to each Debtor, all Cash necessary to fund distributions
               shall be in the possession of the of the applicable Disbursing Agent on the Effective Date.
26
             5.3.   Reorganized Debtors. From the Effective Date, Reorganized Debtors shall
27   continue to exist as separate entities in accordance with applicable law. Debtors’ existing articles
     of incorporation, by-laws, and operating agreements (as amended, supplemented, or modified) will
28


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 1   continue in effect for Reorganized Debtors following the Effective Date, except to the extent that
     such documents are amended in conformance with this Plan or by proper governance action after
 2   the Effective Date.
 3
             5.4.   Articles of Organization, By-laws, Operating Agreement. The articles of
 4   incorporation, by-laws, and/or operating agreement, as applicable, of each Debtor shall be
     amended as set forth in the Plan Supplement as necessary to satisfy the provisions of the Plan and
 5   the Bankruptcy Code and shall include, among other things, pursuant to Section 1123(a)(6) of the
     Bankruptcy Code, a provision prohibiting the issuance of non-voting equity securities, but only to
 6   the extent required by Section 1123(a)(6) of the Bankruptcy Code.
 7           5.5.   Post-Effective Date Management of Reorganized Debtors. From and after the
 8   Effective Date, Reorganized Debtors will continue to be managed by Burdekin, which
     management may subsequently be modified to the extent provided by Reorganized Debtors’
 9   articles of incorporation or organization, by-laws, and operating agreement (as amended,
     supplemented, or modified).
10
             5.6.   Distributions. Distributions to Holders of Allowed Claims and Cure payments, if
11   any, shall be the responsibility of the Disbursing Agent, or any successor or appointed pursuant
     to Section 5.5 of this Plan.
12

13           5.7.    Effectuation of Transactions; Timing. On and after the Effective Date, Burdekin,
     on behalf of Reorganized Debtors, is authorized to issue, execute, deliver, and consummate the
14   transactions contemplated by or described in this Plan in the name of and on behalf of Reorganized
     Debtors without further notice to or order of the Bankruptcy Court, act or action under applicable
15   law, regulation, order, rule, or any requirements of further action, vote, or other approval or
     authorization by any Person. All transactions that are required to occur on the Effective Date under
16
     the terms of this Plan shall be deemed to have occurred simultaneously. Debtors and Reorganized
17   Debtors are authorized and directed to do such acts and execute such documents as are necessary
     to implement this Plan.
18
             5.8.   Notice of Effectiveness. When all of the steps contemplated by Section 8.2 have
19   been completed or waived, Reorganized Debtors shall file with the Bankruptcy Court and all
     potential Holders of Administrative Claims known to Reorganized Debtors (whether or not
20   disputed), a notice of Effective Date of Plan. The notice of Effective Date of Plan shall include
21   notice of the Administrative Claim Bar Date.

22           5.9.   No Governance Action Required. As of the Effective Date: (i) the adoption,
     execution, delivery, and implementation or assignment of all contracts, leases, instruments,
23   releases, and other agreements related to or contemplated by this Plan; and (ii) the other matters
     provided for under or in furtherance of this Plan involving corporate action to be taken by or
24   required of Debtors shall be deemed to have occurred and be effective as provided herein, and
     shall be authorized and approved in all respects without further order of the Bankruptcy Court or
25
     any requirement of further action by the officers, members or managers of Debtors.
26
             5.10. Filing with State Authorities. To the extent required by the applicable laws of
27   California, Delaware, and Nevada, on or as soon as reasonably practical after the Effective Date,
     a certified copy of this Plan and the Confirmation Order shall be filed with the applicable state
28   agency or department. Again, to the extent applicable, Debtors, from the Confirmation Date until

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 1   the Effective Date, are authorized and directed to take any action or carry out any proceeding
     necessary to effectuate this Plan pursuant to applicable state law.
 2
     6.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 3
             6.1.    Executory Contracts. Other than the Executory Contracts and Unexpired Leases
 4
     set forth on Schedule 6.1 hereto (which may be supplemented and amended up to the Confirmation
 5   Date), all of the Debtors’ Executory Contracts and Unexpired Leases have either been superseded
     or expired by their own terms. The Executory Contracts and Unexpired Leases set forth on
 6   Schedule 6.1 remain in effect are current and shall be assumed by the Debtors or Reorganized
     Debtors on the Effective Date.
 7
             6.2.    Approval of Assumption. Entry of the Confirmation Order shall constitute as of
 8   the Effective Date approval of the assumption of the Executory Contracts and Unexpired Leases
 9   set forth on Schedule 6.1 pursuant to Bankruptcy Code Section 365. Upon the Effective Date,
     each counter party to an assumed Executory Contract or Unexpired Lease listed shall be deemed
10   to have consented to an assumption contemplated by Section 365(c)(1)(B) of the Bankruptcy Code,
     to the extent such consent is necessary for such assumption. To the extent applicable, all Executory
11   Contracts or Unexpired Leases of Reorganized Debtors assumed pursuant to this Article 6 shall
     be deemed modified such that the transactions contemplated by this Plan shall not be a “change of
12   control,” regardless of how such term may be defined in the relevant Executory Contract or
13   Unexpired Lease and any required consent under any such Executory Contract or Unexpired Lease
     shall be deemed satisfied by confirmation of this Plan.
14
             6.3.      Cure of Defaults. Reorganized Debtors shall Cure any defaults respecting each
15   Executory Contract or Unexpired Lease assumed pursuant to Section 6.1 of this Plan upon the
     latest of: (i) the Effective Date or as soon thereafter as practicable; (ii) such dates as may be fixed
16   by the Bankruptcy Court or agreed upon by Debtors, and after the Effective Date, Reorganized
17   Debtors; or (iii) the fourteenth (14th) Business Day after the entry of a Final Order resolving any
     dispute regarding: (a) a Cure amount; (b) the ability of Debtors or Reorganized Debtors to provide
18   “adequate assurance of future performance” under the Executory Contract or Unexpired Lease
     assumed pursuant to this Plan in accordance with Section 365(b)(1) of the Bankruptcy Code; or
19   (c) any matter pertaining to assumption, assignment, or the Cure of a particular Executory Contract
     or an Unexpired Lease.
20
             6.4.   Objection to Cure Amounts. Any party to an Executory Contract or Unexpired
21
     Lease who objects to the Cure amount determined by Debtors to be due and owing as set forth on
22   Schedule 6.1 must file and serve an objection on counsel no later than fourteen (14) days prior to
     the Confirmation Hearing. Failure to file and serve a timely objection shall be deemed consent to
23   the Cure amounts set forth on Schedule 6.1 of the Plan. If there is a dispute regarding: (i) the
     amount of any Cure payment; (ii) the ability of Reorganized Debtors to provide “adequate
24   assurance of future performance” under the Executory Contract or Unexpired Lease to be assumed
     or assigned; or (iii) any other matter pertaining to assumption, the Cure payments required by
25
     Section 365(b)(1) of the Bankruptcy Code will be made following the entry of a Final Order
26   resolving the dispute and approving the assumption.

27           6.5.  Confirmation Order. The Confirmation Order will constitute an order of the
     Bankruptcy Court approving the assumptions described in this Article 6 pursuant to Section 365
28   of the Bankruptcy Code as of the Effective Date. Notwithstanding the forgoing, if, as of the date

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 1   the Bankruptcy Court enters the Confirmation Order, there is pending before the Bankruptcy Court
     a dispute concerning the Cure amount or adequate assurance for any particular Executory Contract
 2   or Unexpired Lease, the assumption of such Executory Contract or Unexpired Lease shall be
 3   effective as of the date the Bankruptcy Court enters an order resolving any such dispute and
     authorizing assumption by Debtors.
 4
     7.        MANNER OF DISTRIBUTION OF PROPERTY UNDER THIS PLAN
 5
             7.1.    Statements. Reorganized Debtors shall maintain a record of the names and
 6   addresses of all Holders of Allowed Claims as of the Effective Date for purposes of mailing
     Distributions to them and shall provide a copy to Burdekin. The Disbursing Agent may rely on
 7   the name and address set forth in Debtors’ Schedules and/or Proofs of Claim as being true and
     correct unless and until notified otherwise in writing.
 8

 9          7.2.    Further Authorization. Debtors and Reorganized Debtors shall be entitled to seek
     such orders, judgments, injunctions, and rulings as it deems necessary to carry out the intentions
10   and purposes, and to give full effect to the provisions of this Plan.

11           7.3.   Release and Indemnification. Pursuant to Section 1123(b) of the Bankruptcy
     Code, for good and valuable consideration, including the actions required of Burdekin on behalf
12   of Reorganized Debtors as the Disbursing Agent, Burdekin is deemed released and indemnified
     from any and all claims, obligations, rights, suits, damages, remedies and liabilities whatsoever,
13
     whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity
14   or otherwise, arising out of or related to Burdekin’s actions as a Disbursing Agent except for gross
     negligence or willful misconduct.
15
     8.        CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE
16             DATE

17          8.1.    Conditions to Confirmation. The Confirmation Order shall have been entered
     and be in form and substance reasonable acceptable to Debtors and the Creditor Committee.
18
            8.2.    Conditions to Effectiveness.       The following are conditions precedent to the
19
     occurrence of the Effective Date:
20
                                   The Confirmation Order shall be a Final Order, except that Debtors
21             reserve the right to cause the Effective Date to occur notwithstanding the pendency of an
               appeal of the Confirmation Order, subject to agreement of the Creditor Committee.
22
                                   All documents necessary to implement the transactions contemplated by
23             this Plan shall be in form and substance reasonable acceptable to Debtors and the Creditor
               Committee.
24
     9.        TITLE TO PROPERTY; DISCHARGE; INJUNCTION
25

26          9.1.    Title to Property. As of the Effective Date, all Assets shall be free and clear of all
     Liens, Claims, and Equity Securities except as otherwise provided herein.
27
           9.2.   Discharge of Claims and Causes of Action. Pursuant to section 1141(d) of the
28   Bankruptcy Code, and except as otherwise specifically provided in the Plan or in any contract,


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 1   instrument, or other agreement or document created pursuant to the Plan, the distributions, rights,
     and treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release,
 2   effective as of the Effective Date, of Claims and Causes of Action against Debtors of any nature
 3   whatsoever, whether known or unknown, against, liabilities of, Liens on, obligations of, rights
     against, and Equity Interests in, the Debtors or any of its assets or properties, regardless of whether
 4   any property shall have been distributed or retained pursuant to the Plan on account of such Claims
     and Equity Interests, including demands, liabilities, and Causes of Action that arose before the
 5   Effective Date, any contingent or non-contingent liability on account of representations or
     warranties issued on or before the Effective Date, and all debts of the kind specified in sections
 6   502(g), 502(h), or 502(i) of the Bankruptcy Code. The Confirmation Order shall be a judicial
 7   determination of the discharge of all Claims and Causes of action subject to the Effective Date
     occurring.
 8
             9.3.    Compromise and Settlement. The allowance, classification, and treatment of all
 9   Allowed Claims and their respective Distributions under this Plan takes into account and/or
     conform to the relative priority and rights of the Claims in each Class in connection with any
10   contractual, legal, and equitable subordination rights relating thereto whether arising under general
     principles of equitable subordination, Section 510(c) of the Bankruptcy Code, or otherwise.
11

12            9.4.    Injunction. From and after the Effective Date, and except as provided in this Plan
     and the Confirmation Order, all entities that have held, currently hold, or may hold a Claim or an
13   Equity Security or other right of an Equity Security Holder that is terminated pursuant to the terms
     of this Plan are permanently enjoined from taking any of the following actions on account of any
14   such Claims or terminated Equity Securities or rights: (i) commencing or continuing in any manner
     any action or other proceeding against Reorganized Debtors’ property, or Burdekin in his capacity
15
     of responsible person for the Reorganized Debtors; (ii) enforcing, attaching, collecting, or
16   recovering in any manner any judgment, award, decree, or order against Reorganized Debtors or
     their property; (iii) creating, perfecting, or enforcing any Lien or encumbrance against
17   Reorganized Debtors or their property; (iv) asserting a right of subrogation of any kind against any
     debt, liability, or obligation due to Reorganized Debtors or their property; and (vi) commencing or
18   continuing any action, in any manner or any place, that does not comply with or is inconsistent
     with the provisions of this Plan or the Bankruptcy Code.
19

20           9.5.    Exculpation. Except as provided for in this Plan, from and after the Effective Date,
     neither the Debtors, Reorganized Debtors, Creditor Committee, the professionals employed on
21   behalf of the Estates or the Creditor Committee, nor any of their respective present or former
     members, directors, officers, managers, employees, advisors, attorneys, or agents, shall have or
22   incur any liability, including derivative claims, but excluding direct claims, to any Holder of a
     Claim or Equity Security or any other party-in-interest, or any of their respective agents,
23   employees, representatives, financial advisors, attorneys, or Affiliates, or any of their successors
24   or assigns, for any act or omission in connection with, relating to, or arising out of (from the
     Petition Date through the Effective Date), the Chapter 11 Case, the pursuit of confirmation of this
25   Plan, or the consummation of this Plan, except for gross negligence, willful misconduct and actions
     taken or asserted on such Parties’ individual interests as a Holder of a Claim or an Equity Security,
26   and in all respects shall be entitled to reasonably rely upon the advice of counsel with respect to
     their duties and responsibilities under this Plan or in the context of the Chapter 11 Case.
27

28


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 1            9.6.  Unimpaired Claims. Despite any term of the Plan or Effective Date operative
     documents to the contrary, until an Allowed Claim designated as Unimpaired has been (x) satisfied
 2   in full pursuant to the treatment of such Allowed Claim in Article 4, or (y) otherwise satisfied or
 3   disposed of as determined by a court of competent jurisdiction: (a) Sections 9.2 and 9.4 shall not
     apply or take effect with respect to such Allowed Claim, (b) such Allowed Claim shall not be
 4   deemed settled, satisfied, resolved, released, discharged, or enjoined by any provision of the Plan
     or the Effective Date operative documents, and (c) the property of the Debtors’ Estates that vests
 5   in the applicable Reorganized Debtor shall remain subject to such Allowed Claim.
 6   10.       RETENTION OF JURISDICTION
 7          10.1. Jurisdiction. Notwithstanding the entry of the Confirmation Order and the
     occurrence of the Effective Date, the Bankruptcy Court shall retain such jurisdiction over the
 8
     Chapter 11 Case and Reorganized Debtors after the Effective Date as is legally permissible,
 9   including jurisdiction to:

10                                 Allow, disallow, determine, liquidate, classify, estimate, or establish the
               priority or secured or unsecured status of any Claim, Contingent Claim, or Disputed Claim,
11             including the resolution of any request for payment of any Administrative Claim and the
               resolution of any and all objections to the allowance or priority of Claims;
12
                                 Grant or deny any applications for allowance of compensation or
13
               reimbursement of expenses authorized pursuant to the Bankruptcy Code or this Plan for
14             periods ending on or before the Effective Date;

15                                Resolve any matters related to the assumption, assignment, or rejection
               of any Executory Contract or Unexpired Lease to which any Debtor or Reorganized
16             Debtors are a party and to hear, determine, and, if necessary, liquidate any Claims arising
               there from or Cure amounts related thereto;
17

18                              Ensure that Distributions to Holders of Allowed Claims are
               accomplished pursuant to the provisions of this Plan;
19
                                   Decide or resolve any motions, adversary proceedings, contested or
20             litigated matters, and any other matters, and grant or deny any applications or motions
               involving Debtors or Reorganized Debtors that may be pending on the Effective Date or
21             commenced thereafter as provided for by this Plan;
22                               Enter such orders as may be necessary or appropriate to implement or
23             consummate the provisions of this Plan and all contracts, instruments, releases, and other
               agreements or documents created in connection with this Plan (including those contained
24             in the Plan Supplement) and the Confirmation Order, except as otherwise provided herein;

25                                 Decide or resolve any cases, controversies, suits, or disputes that may
               arise in connection with the consummation, interpretation, or enforcement of any Final
26             Order, this Plan, the Plan Supplement, the Confirmation Order, or any Person’s obligations
               incurred in connection with this Plan or the Confirmation Order;
27

28


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 1                                   Modify this Plan before or after the Effective Date pursuant to Section
               1127 of the Bankruptcy Code and Section 11.1 of this Plan or modify any contract,
 2             instrument, release or other agreement or document created in connection with or pursuant
 3             to this Plan, the Confirmation Order; or remedy any defect or omission or reconcile any
               inconsistency in any Final Order, this Plan, the Confirmation Order, or any contract,
 4             instrument, release or other agreement or document created in connection with or pursuant
               to this Plan, , or the Confirmation Order, in such manner as may be necessary or appropriate
 5             to consummate this Plan, to the extent authorized by the Bankruptcy Code;
 6                               Issue injunctions, enter and implement other orders, or take such other
               actions as may be necessary or appropriate to restrain interference by any person with
 7
               consummation, implementation, or enforcement of any Final Order, this Plan, the
 8             Confirmation Order or any other contract, instrument, release, or other document created
               in connection with or pursuant to this Plan, the Confirmation Order, except as otherwise
 9             provided herein;
10                               Enter and implement such orders as are necessary or appropriate if a
               Final Order or the Confirmation Order is for any reason modified, stayed, reversed,
11             revoked, or vacated;
12
                                   Determine any other matters that may arise in connection with or relate
13             to this Plan, any Final Order, the Confirmation Order, or any contract, instrument, release,
               or other agreement or document, created in connection with or pursuant to this Plan, any
14             Final Order, or Confirmation Order, except as otherwise provided herein;
15                                Enter an order closing the Chapter 11 Cases;
16                              Hear and decide Causes of Actions and continue to hear and decide
17             pending Causes of Actions and any other claim or cause of action of Debtors or
               Reorganized Debtors; and
18
                                  Decide or resolve any matter over which the Bankruptcy Court has
19             jurisdiction pursuant to Section 505 of the Bankruptcy Code.

20                                  Nothing contained in this Article 10 shall constitute a waiver by any
               Person of the right to assert that the Bankruptcy Court lacks jurisdiction over any matter
21             set forth in this Article 10.
22   11.       MODIFICATION AND AMENDMENT OF PLAN
23
            11.1. Modification and Amendment. Prior to Confirmation, Debtors may alter, amend,
24   or modify this Plan under Section 1127(a) of the Bankruptcy Code at any time. After the
     Confirmation Date and prior to substantial consummation as defined in Section 1101(2) of the
25   Bankruptcy Code of this Plan, Debtors may, under Section 1127(b), (c), and (d) of the Bankruptcy
     Code, alter, amend, or modify this Plan or institute proceedings in the Bankruptcy Court to remedy
26   any defect or omission or reconcile any inconsistencies in this Plan, the Plan Supplement or the
     Confirmation Order, to make appropriate adjustments and modifications to this Plan, the Plan
27
     Supplement, or the Confirmation Order as may be necessary to carry out the purposes and effects
28


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 1   of this Plan so long as such proceedings do not materially adversely affect the treatment of Holders
     of Allowed Claims under this Plan.
 2
     12.       MISCELLANEOUS
 3
             12.1. Filing of Objections to Claims. After the Effective Date, objections to Claims
 4
     may be made by Reorganized Debtors or any other party properly entitled to do so under the
 5   Bankruptcy Code. Any objections to Priority Unsecured Claims and General Unsecured Claims
     made after the Effective Date shall be filed and served not later than the first Business Day that is
 6   ninety (90) calendar days after the Effective Date; provided, however, that such period may be
     extended from time to time by order of the Bankruptcy Court which extensions may be extended
 7   on the ex parte request of the Reorganized Debtors.
 8                                Resolution of Objections After Effective Date. From and after the
 9             Effective Date, the Reorganized Debtors may litigate to judgment, propose settlements of,
               or withdraw objections to, all pending or filed Disputed Claims and may settle or
10             compromise any Disputed Claim without notice and a hearing and without approval of the
               Bankruptcy Court.
11
                                   Distributions and Disputed Claims Reserve. In order to facilitate
12             Distributions to Holders of Allowed Administrative Claims, Reorganized Debtors, as
               applicable, shall set aside in a designated reserve account the payments or Distributions
13
               applicable to such Disputed Claims as if such Disputed Claims were Allowed Claims,
14             pending the allowance or disallowance of such Disputed Claims. In the event the
               Disbursing Agent wishes to deposit or hold a lesser amount than required herein and is
15             unable to reach an agreement with the Holder of the Disputed Claim on the amount to be
               deposited or held, the Bankruptcy Court shall fix the amount after notice and hearing.
16             Upon Final Order with respect to a Disputed Claim, the Holder of such Disputed Claim, to
17             the extent it has been determined to be an Allowed Claim, shall receive as soon as
               reasonably practical that payment or Distribution to which it would have been entitled if
18             the portion of the Claim so allowed had been allowed as of the Effective Date.

19                                 Late-Filed Claims. No Proof of Claim filed after the Bar Date or, as
               applicable, the Administrative Claim Bar Date, shall be allowed, and all such Proofs of
20             Claims are hereby disallowed in full. After the Bar Date or the Administrative Bar Date,
               as applicable, no Creditor shall be permitted to amend any Claim or Proof of Claim to
21
               increase the claimed amount and any such amendment shall be disallowed to the extent of
22             the late-filed increase in the claimed amount.

23           12.2. Exemption from Transfer Taxes. Pursuant to Section 1146 of the Bankruptcy
     Code: (i) the issuance, distribution, transfer, or exchange of the Estates’ property (including
24   Assets); (ii) the creation, modification, consolidation, or recording of any deed of trust or other
     security interest, the securing of additional indebtedness by such means or by other means in
25   furtherance of, or connection with this Plan or the Confirmation Order; (iii) the making,
26   assignment, modification, or recording of any lease or sublease; or (iv) the making, delivery, or
     recording of a deed or other instrument of transfer under, in furtherance of, or in connection with,
27   this Plan, Confirmation Order, or any transaction contemplated above, or any transactions arising
     out of, contemplated by, or in any way related to the foregoing, shall not be subject to any
28   document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp

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 1   act or real estate transfer tax, mortgage recording tax, or other similar tax or governmental
     assessment and the appropriate state of local government officials or agents shall be, and hereby
 2   are, directed to forego the collection of any such tax or assessment and to accept for filing or
 3   recordation any of the foregoing instruments or other documents without the payment of any such
     tax or assessment.
 4
             12.3. Revocation or Withdrawal of this Plan. Debtors reserve the right to revoke or
 5   withdraw this Plan at any time prior to its substantial consummation. If this Plan is withdrawn or
     revoked, then this Plan shall be deemed null and void and nothing contained herein shall be deemed
 6   to constitute a waiver or release of any Claims by or against Debtors or any other Person, nor shall
     the withdrawal or revocation of this Plan prejudice in any manner the rights of Debtors or any
 7
     Person in any further proceedings involving Debtors. In the event this Plan is withdrawn or
 8   revoked, nothing set forth herein shall be deemed an admission of any sort and this Plan and any
     transaction contemplated thereby shall be inadmissible into evidence in any proceeding
 9
             12.4. Binding Effect. This Plan shall be binding upon, and shall inure to the benefit of,
10   Debtors, Reorganized Debtors, and the Holders of all Claims and Equity Securities and their
     respective successors and assigns.
11
              12.5. Governing Law. Except to the extent that the Bankruptcy Code or other federal
12
     law is applicable or as provided in any contract, instrument, release, or other agreement entered
13   into in connection with this Plan or in any document which remains unaltered by this Plan, the
     rights, duties, and obligations of Debtors, Reorganized Debtors, and any other Person arising under
14   this Plan shall be governed by, and construed and enforced in accordance with, the internal laws
     of the State of Nevada without giving effect to Nevada’s choice of law provisions.
15
           12.6. Modification of Payment Terms. The Reorganized Debtors reserve the right to
16
     modify the treatment of any Allowed Claim in any manner adverse only to the Holder of such
17   Allowed Claim at any time after the Effective Date upon the prior written consent of the Holder
     whose Allowed Claim treatment is being adversely affected.
18
             12.7. Providing for Claims Payments. Distributions to Holders of Allowed Claims
19   shall be made by the applicable Reorganized Debtor as the Disbursing Agent: (i) at the address(es)
     set forth on the proofs of Claim filed by such Holder(s) (or at the last known addresses of such
20   Holder(s) if no proof of Claim is filed or if Debtors have been notified of a change of address); (ii)
21   at the addresses set forth in any written notices of address changes delivered to the Debtor or
     Reorganized Debtors after the date of any related proof of Claim; or (iii) at the addresses reflected
22   in the Schedules if no proof of Claim has been filed and the Debtor or Reorganized Debtors have
     not received a written notice of a change of address. If any Holder’s Distribution is returned as
23   undeliverable, no further Distributions to such Holder shall be made unless and until the
     Disbursing Agent, is notified of such Holder’s then-current address, at which time all missed
24   Distributions shall be made to such Holder without interest. Amounts in respect of undeliverable
25   Distributions made through the Disbursing Agent, shall be paid to the Clerk of the Bankruptcy
     Court pursuant to Bankruptcy Rule 3011, as in the case of a Chapter 7 liquidation. Nothing
26   contained in this Plan shall require the Disbursing Agent or Reorganized Debtors to attempt to
     locate any Holder of an Allowed Claim.
27

28


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 1           12.8. Set Offs. Debtor and Reorganized Debtors may, but shall not be required to, set
     off or recoup against any Claim and the payments or other Distributions to be made pursuant to
 2   this Plan in respect of such Claim (before any Distribution is made on account of such Claim or
 3   Equity Security), claims of any nature whatsoever that the applicable Debtors or Reorganized
     Debtors may have against the Holder of such Claim to the extent such Claims may be set off or
 4   recouped under applicable law, provided, that, neither the failure to do so nor the allowance of any
     Claim hereunder shall constitute a waiver or release by Debtors or Reorganized Debtors of any
 5   such Claim that it may have against such Holder.
 6           12.9. Notices. Any notice required or permitted to be provided under this Plan shall be
     in writing and served by either: (i) certified mail, return receipt requested, postage prepaid; (ii)
 7
     hand delivery; or (iii) reputable overnight courier service, freight prepaid, to be addressed as
 8   follows:

 9    If to Debtors:                   Edward S. Burdekin
                                       350 Stonewall Avenue West,
10                                     Fayetteville, GA 30214
11    With a copy to:                  Garman Turner Gordon
12                                     Attn: William M. Noall, Esq.
                                       7251 Amigo Street, Suite 210
13                                     Las Vegas, NV 89119
                                       Tel: (725) 777-3000
14                                     Email: wnoall@gtg.legal
15
                                       Andersen Law Firm, LTD.
16                                     Attn: Ryan A. Andersen
                                       Nevada Bar No. 12321
17                                     3199 East Warm Springs Road
                                       Las Vegas, NV 89120
18                                     Tel: (702) 522-1992
                                       E-mail: ryan@vegaslawfirm.legal
19

20                                     WIGGAM & GEER
                                       Attn: Will B. Geer
21                                     50 Hurt Plaza, SE, Suite 1245
                                       Atlanta, GA 30303
22                                     Tel: (678) 587-8740
                                       E-mail: wgeer@wiggamgeer.com
23

24           12.10. Severability. If any provision of this Plan is determined by the Bankruptcy Court
     to be invalid, illegal, or unenforceable or this Plan is determined to be not confirmable pursuant to
25   Section 1129 of the Bankruptcy Code, the Bankruptcy Court, at the request of Debtors, shall have
     the power to alter and interpret such term to make it valid or enforceable to the maximum extent
26   practicable, consistent with the original purpose of the term or provision held to be invalid, void,
27   or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
     Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
28   provisions of this Plan shall remain in full force and effect and will in no way be affected, impaired,


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 1   or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
     constitute a judicial determination and shall provide that each term and provision of this Plan, as
 2   it may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
 3   pursuant to its terms.

 4           12.11. Withholding and Reporting Requirements. In connection with this Plan and all
     instruments and interests issued in connection therewith and Distributions pursuant to the plan,
 5   Reorganized Debtors shall comply with all withholding and reporting requirements imposed by
     any federal, state, local, or foreign taxing authority and all Distributions hereunder shall be subject
 6   to any such withholding and reporting requirements. Reorganized Debtors shall be authorized to
     take any and all action that may be necessary to comply with such withholding and recording
 7
     requirements. Notwithstanding any other provision of this Plan, each Holder of an Allowed Claim
 8   that has received a Distribution pursuant to this Plan shall have sole and exclusive responsibility
     for the satisfaction or payment of any tax obligation imposed by any governmental unit, including
 9   income, withholding, and other tax obligation on account of such Distribution.
10            12.12. Post-Confirmation Reporting. Until the earlier of their dissolution or the entry
     of the final decree closing the Chapter 11 Cases, Reorganized Debtors shall comply with the post-
11   confirmation reporting requirements set forth in Bankruptcy Code and Bankruptcy Rules.
12   Additionally, Reorganized Debtors shall file post-confirmation quarterly operating reports
     detailing receipts and disbursements (along with ending cash balance) for each calendar quarter
13   from the date of confirmation until dismissal, conversion, or entry of a final decree closing the
     case, which reports shall be filed no later than 20 days after the last day of the reported quarter.
14
            12.13. Quarterly Fees. Prior to the Effective Date, Debtors, and after the Effective Date,
15   Reorganized Debtors shall be responsible to pay all quarterly fees payable to the Office of the
16   United States Trustee consistent with the sliding scale set forth in 28 U.S.C. § 1930(a)(6), and the
     applicable provisions of the Bankruptcy Code and Bankruptcy Rules.
17
               DATED this 19th day of June 2020
18
                                            National Merchandising Services, LLC, a Nevada limited
19                                          liability company
20                                            /s/ Edward Steven Burdekin
                                            By: Edward Steven Burdekin
21                                          Its: Responsible Person
22                                          National Store Retail Services, LLC, a Georgia limited
23                                          liability company
                                              /s/ Edward Steven Burdekin
24                                          By: Edward Steven Burdekin
                                            Its: Responsible Person
25

26                                           /s/ Edward Steven Burdekin
                                            By: Edward Steven Burdekin
27

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 1                                           SCHEDULE 1
                                     TO PLAN OF REORGANIZATION
 2                          CERTAIN PRESERVED POTENTIAL CAUSES OF ACTION
 3
               All defined terms used herein shall have the meanings set forth in the Plan. The following
 4   is a non-exhaustive list of potential parties against whom Debtors and/or Reorganized Debtors may
     hold a claim or cause of action. Debtors and Reorganized Debtors reserve their right to modify
 5   this list to amend or add parties or causes of action but disclaim any obligation to do so. In addition
     to the possible causes of action and claims listed below, Debtors and Reorganized Debtors have
 6   or may have, in the ordinary course of their business, numerous causes of action and Claims or
 7   rights against contractors, subcontractors, vendors, suppliers, and others with whom they deal in
     the ordinary course of their business (the “Ordinary Course Claims”). Debtors and Reorganized
 8   Debtors reserve their right to enforce, sue on, settle, or compromise (or decline to do any of the
     foregoing) the Ordinary Course Claims, as well as the claims and causes of action listed below and
 9   all other claims and causes of action. Debtors and Reorganized Debtors also have, or may have,
     and are retaining, various claims or causes of action arising under or pursuant to its insurance
10   policies, and all rights arising under, relating to, or in connection with such policies are expressly
11   reserved and retained.

12              1. Causes of Actions arising out of or in connection with Debtors’ business, property, or
                      operations.
13
                2. Causes of Actions arising out of transactions involving, concerning, or related to
14                    Debtors; and

15              3. All other rights, privileges, claims, actions, or remedies of Debtors and/or Reorganized
                       Debtors existing on the Effective Date, whether arising at law or in equity.
16
                4. All Avoidance Actions.
17
             There may also be other Causes of Actions which currently exist or may subsequently arise
18   that are not set forth herein because the facts underlying such Causes of Actions are not currently
     known or sufficiently known by Debtors. The failure to list any such unknown Causes of Action
19   herein is not intended to limit the rights of Reorganized Debtors to pursue any unknown Causes
     of Action to the extent the facts underlying such unknown Causes of Action become more fully
20
     known in the future.
21
                     Unless Causes of Actions against any individual or entity are expressly waived,
22   relinquished, released, compromised, or settled by the Plan or any Final Order, Debtors expressly
     reserves for its benefit, and the benefit of Reorganized Debtors, all Causes of Actions, including,
23   without limitation, all unknown Causes of Actions for later adjudication and therefore no
     preclusion doctrine (including, without limitation, the doctrines of res judicata, collateral estoppel,
24   issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches) shall
25   apply to such Causes of Actions after the confirmation or consummation of the Plan. In addition,
     Debtors expressly reserves for its benefit and the benefit of Reorganized Debtors, the right to
26   pursue or adopt any claims alleged in any lawsuit in which Debtors is a defendant or an interested
     party, against any individual or entity, including plaintiffs and co-defendants in such lawsuits.
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 1                                    SCHEDULE 6.1
                                          TO
 2                              PLAN OF REORGANIZATION
 3                 ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 4
                                   National Merchandising Services, LLC
 5
                                                                                    Cure Amount
 6
                Master Services Agreement with Advance Stores Company, Inc.             None
 7
                Employment Agreement with Edward S. Burdekin                            None
 8
                Lease of 350 Stonewall Avenue West, Fayetteville, GA 30214              None
 9
                Corporate Partners Program Services Agreement with                      None
10               Enterprise/EAN Services, LLC

11              Temporary Associates Agreement with PeopleReady, Inc.                   None

12              General Staffing Agreement with Pivotal Retail Group                    None

13              Product Services Agreement with SellEthics Marketing Group, Inc.        None

14              Technology and Mark License Agreement with Spar Trademarks,             None
                 Inc. and Spar Marketing Force, Inc.
15

16

17                                  National Store Retail Services, LLC

18              None.

19                                          Edward S. Burdekin

20                                                                                  Cure Amount

21              Employment Contract with National Merchandising Service, LLC            None

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